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                                UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF TEXAS
                                        HOUSTON DIVISION

                                                               §
In re:                                                         § Chapter 11
                                                               §
EPIC COMPANIES, LLC,                                           § Case No. 19-34752
                                                               §
                    Debtors.1                                  § (Jointly Administered)
                                                               §

                             NOTICE OF FILING OF PLAN SUPPLEMENT

        PLEASE TAKE NOTICE THAT on February 19, 2020, the United States Bankruptcy
Court for the Southern District of Texas (the “Court”) entered an order [Docket No. 592] (the
“Disclosure Statement Order”), inter alia: (a) conditionally approving the Disclosure Statement
for the Joint Plan of Liquidation of Epic Companies, LLC and its Debtor Subsidiaries under
Chapter 11 of the Bankruptcy Code (the “Disclosure Statement”) as containing “adequate
information” pursuant to section 1125 of the Bankruptcy Code; (b) approving certain procedures
(the “Solicitation Procedures”) for the solicitation and tabulation of votes to accept or reject the
Joint Plan of Liquidation of Epic Companies, LLC and its Debtor Subsidiaries under Chapter 11
of the Bankruptcy Code (as modified, amended, or supplemented from time to time, the “Plan”);2
(c) approving the forms of ballots for submitting votes on the Plan; and (d) approving the form and
manner of notice to the Non-Voting Classes (the “Notice of Non-Voting Status”).

        PLEASE TAKE FURTHER NOTICE THAT as contemplated by the Plan and the
Disclosure Statement Order approving the Disclosure Statement, the Debtors hereby file the Plan
Supplement. The Plan Supplement contains the following documents (each as defined in the Plan):
(a) the Liquidating Trust Agreement; (b) the Schedule of Retained Causes of Action; and (c) the
Designated Litigation Counsel. The Plan Proponents shall have the right to modify or amend the
Plan or any Plan-related documents, including but not limited to documents contained in, and
exhibits to, the Plan Supplement.

       PLEASE TAKE FURTHER NOTICE THAT the hearing at which the Court will
consider Confirmation of the Plan (the “Confirmation Hearing”) will commence on April 1, 2020,
at 2:00 p.m. prevailing Central Time, before the Honorable David R. Jones, in the United States
Bankruptcy Court for the Southern District of Texas, located at 515 Rusk Street, Courtroom 400,
Houston, Texas 77002.


1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are as follows: Epic Companies, LLC (1473), Epic Diving & Marine Services, LLC (2501), Epic Applied
Technologies, LLC (5844), Epic Specialty Services, LLC (8547), Epic Alabama Steel, LLC (6835), Epic San
Francisco Shipyard, LLC (5763) and Zuma Rock Energy Services, LLC (1022). The address of the Debtors’
headquarters is: 23603 W. Fernhurst Drive, Katy, Texas 77494.
2
    Capitalized terms not otherwise defined herein have the meanings as set forth in the Plan.



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        PLEASE TAKE FURTHER NOTICE THAT the deadline for filing objections to the
Plan is March 24, 2020, at 5:00 p.m. prevailing Central Time (the “Plan Objection Deadline”).

       PLEASE TAKE FURTHER NOTICE THAT if you would like to obtain a copy of the
Disclosure Statement, the Plan, the Plan Supplement, or related documents, you should contact
Epiq Corporate Restructuring, LLC, the notice and claims agent retained by the Debtors in the
Chapter 11 Cases (the “Notice and Claims Agent”), by: (a) visiting the Debtors’ restructuring
website at: https://dm.epiq11.com/case/ecl/info; (b) calling the Notice and Claims Agent at 1-855-
958-0575 (domestic and Canada) or 1-503-597-5530 (international) and requesting to speak with
a member of the Solicitation Team, or (c) emailing tabulation@epiqglobal.com with a reference
to “Epic Companies” in the subject line.

ARTICLE X OF THE PLAN CONTAINS RELEASE, EXCULPATION, AND INJUNCTION
 PROVISIONS, AND ARTICLE X.D CONTAINS A THIRD-PARTY RELEASE. THUS,
YOU ARE ADVISED TO REVIEW AND CONSIDER THE PLAN CAREFULLY BECAUSE
             YOUR RIGHTS MIGHT BE AFFECTED THEREUNDER.

     THIS NOTICE IS BEING SENT TO YOU FOR INFORMATIONAL PURPOSES
ONLY. IF YOU HAVE QUESTIONS WITH RESPECT TO YOUR RIGHTS UNDER THE
PLAN OR ABOUT ANYTHING STATED HEREIN OR IF YOU WOULD LIKE TO
OBTAIN ADDITIONAL INFORMATION, CONTACT THE NOTICE AND CLAIMS
AGENT.




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        Dated: March 17, 2020
        Houston, Texas

                                            PORTER HEDGES LLP

                                     By:     /s/ John F. Higgins
                                            John F. Higgins (TX 09597500)
                                            Eric M. English (TX 24062714)
                                            M. Shane Johnson (TX 24083263)
                                            Genevieve M. Graham (TX 24085340)
                                            1000 Main Street, 36th Floor
                                            Houston, Texas 77002
                                            Telephone: (713) 226-6000
                                            Fax: (713) 226-6248

                                            COUNSEL FOR DEBTORS
                                            AND DEBTORS IN POSSESSION



                                                   And

                                            MUNSCH HARDT KOPF & HARR, P.C.

                                     By:     /s/ Jay H. Ong
                                            Jay H. Ong (TX 24028756)
                                            Christopher D. Johnson (TX 24012913)
                                            700 Milam Street, Suite 2700
                                            Houston, Texas 77002
                                            (713) 222-1470 (telephone)
                                            (713) 222-1475 (facsimile)
                                            jong@munsch.com
                                            cjohnson@munsch.com

                                            COUNSEL FOR THE OFFICIAL
                                            COMMITTEE OF UNSECURED
                                            CREDITORS




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                             UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                           §
In re:                                                     § Chapter 11
                                                           §
EPIC COMPANIES, LLC,                                       § Case No. 19-34752
                                                           §
                  Debtors.1                                § (Jointly Administered)
                                                           §

             PLAN SUPPLEMENT FOR THE JOINT PLAN OF LIQUIDATION OF
                EPIC COMPANIES, LLC AND ITS DEBTOR SUBSIDIARIES
                   UNDER CHAPTER 11 OF THE BANKRUPTCY CODE
                             TABLE OF CONTENTS

         Exhibit      Description
              A       Liquidating Trust Agreement
              B       Schedule of Retained Causes of Action
              C       Designated Litigation Counsel




1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are as follows: Epic Companies, LLC (1473), Epic Diving & Marine Services, LLC (2501), Epic Applied
Technologies, LLC (5844), Epic Specialty Services, LLC (8547), Epic Alabama Steel, LLC (6835), Epic San
Francisco Shipyard, LLC (5763) and Zuma Rock Energy Services, LLC (1022). The address of the Debtors’
headquarters is: 23603 W. Fernhurst Drive, Katy, Texas 77494.



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        Certain documents, or portions thereof, contained in the Plan Supplement remain subject
to continuing negotiations among the Debtors and the Committee. The Plan Proponents reserve all
rights to modify, amend, revise, or supplement the Plan or any Plan-related documents, including
but not limited to the Plan Supplement, and any of the documents and designations contained
herein, at any time before the Effective Date of the Plan, or any such other date as may be provided
for by the Plan, applicable law or by order of the Court.2




2
  Capitalized terms used but not otherwise defined in this Plan Supplement shall have the meanings ascribed to such
terms in the Plan.


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                                           EXHIBIT A

                                 Liquidating Trust Agreement

        This Exhibit A includes the Liquidating Trust Agreement. On the Effective Date, the
Liquidating Trustee shall sign the Liquidating Trust Agreement and cause the Liquidating Trust to
accept, on behalf of the applicable Liquidating Trust Beneficiaries, the Liquidating Trust Assets,
including but not limited to, (a) all Liquidating Trust Cash, (b) the Retained Causes of Action,
(c) the Reserves, and (d) any other assets vested in the Liquidating Trust pursuant to the terms of
this Plan and the Liquidating Trust Agreement. As of the Effective Date, the Liquidating Trust
Assets shall be vested in the Liquidating Trust free and clear of all Liens, Claims, Interests and
encumbrances to the fullest extent possible under applicable law, except as otherwise specifically
provided in the Plan, the Confirmation Order, or the Final DIP Order.

        On the Effective Date, the Liquidating Trust will be deemed created and effective without
any further action by the Bankruptcy Court or any party. The Liquidating Trust shall be established
for the primary purpose of reasonably maximizing the proceeds from liquidation of its assets (as
applicable) for the benefit of Liquidating Trust Beneficiaries, and for making Distributions in
accordance with the Plan and the Liquidating Trust Agreement, including Distributions to Allowed
Professional Fee Claims and other Allowed Administrative Claims, statutory fees in accordance
with Article II.D of the Plan, Allowed Other Secured Claims, Allowed Priority Tax Claims,
Allowed Other Priority Claims, Allowed General Unsecured Claims and Allowed Subordinated
Claims, with no objective to continue or engage in the conduct of a trade or business, except to the
extent reasonably necessary to, and consistent with, the liquidating purpose of the Liquidating
Trust.

        Subject to Article V.F of the Plan herein and the provisions of the Liquidating Trust
Agreement, the Liquidating Trustee shall be the sole entity responsible for, (a) administering the
Liquidating Trust Assets; (b) adjudicating, objecting to, settling, compromising or otherwise
liquidating General Unsecured Claims and other Claims for all purposes; (c) prosecuting,
compromising, and resolving the Retained Causes of Action; and (d) defending compromising,
and resolving any Causes of Action against the Debtors.




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                       LIQUIDATING TRUST AGREEMENT

                                    by and among

                               The Liquidating Debtors

                                         And

                      Jeffrey T. Varsalone, as Liquidating Trustee

                                         And

                    The Official Committee of Unsecured Creditors




                             Dated as of April [__], 2020




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                             LIQUIDATING TRUST AGREEMENT

                                           PREAMBLE

               This Liquidating Trust Agreement (the “Agreement”) is made this [__]th day of
April 2020, by and among Epic Companies, LLC, Epic Diving & Marine Services, LLC, Epic
Applied Technologies, LLC, Epic Specialty Services, LLC, Epic Alabama Steel, LLC, Epic San
Francisco Shipyard, LLC, and Zuma Rock Energy Services, LLC (collectively, the “Liquidating
Debtors”) Jeffrey T. Varsalone, in his capacity as a Managing Director at G2 Capital Advisors,
LLC (the “Liquidating Trustee”), and the Official Committee of Unsecured Creditors in
accordance with that certain Joint Plan of Liquidation of Epic Companies, LLC and Its Debtor
Subsidiaries under Chapter 11 of the Bankruptcy Code (as amended, the “Plan”) and the Order
Approving Disclosure Statement and Confirming Debtors’ and Committee’s Joint Plan of
Liquidation of Epic Companies, LLC and Its Debtor Subsidiaries under Chapter 11 of the
Bankruptcy Code (the “Confirmation Order”). Capitalized terms used herein and not otherwise
defined shall have the meanings ascribed to them in the Plan or the Confirmation Order, as
applicable.

                                            RECITALS

                WHEREAS, on the Petition Date, the Liquidating Debtors Filed voluntary
petitions for relief under chapter 11 of the Bankruptcy Code in the Bankruptcy Court;

              WHEREAS, on February 13, 2020, the Liquidating Debtors Filed the Plan with
the Bankruptcy Court [Docket No. 581];

              WHEREAS, on April [__], 2020, the Plan was confirmed and the Confirmation
Order was entered by the Bankruptcy Court [Docket No. __];

               WHEREAS, on [________], 2020, the Effective Date of the Plan occurred;

               WHEREAS, the Plan contemplates that the Liquidating Trustee shall be appointed
to perform his duties in accordance with the Plan, the Confirmation Order, and this Agreement;

                WHEREAS, the Plan provides that the Liquidating Trustee shall, among other
things, object to Claims, seek to maximize value in liquidating Liquidating Trust Assets for the
benefit of Liquidating Trust Beneficiaries, administer the Claims allowance process, and authorize
and make Distributions to Holders of Claims, in each case, as set forth in the Plan, the Confirmation
Order, and this Agreement;

               WHEREAS, except as set forth in the Plan and this Agreement, the Liquidating
Trustee shall be the sole entity responsible for, (a) administering the Liquidating Trust Assets;
(b) adjudicating, objecting to, settling, compromising or otherwise liquidating General Unsecured
Claims and other Claims for all purposes; (c) prosecuting, compromising, and liquidating the
Retained Causes of Action; and (d) defending, compromising, and resolving the Causes of Action
against the Liquidating Debtors.




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              WHEREAS, this Agreement is entered into in accordance with, and to facilitate
the implementation and execution of, the Plan;

                WHEREAS, pursuant to the Plan, Jeffrey T. Varsalone, in his capacity as a
Managing Director at G2 Capital Advisors, LLC (“Varsalone”) shall serve as the Liquidating
Trustee, effective upon the date hereof, and Varsalone is willing to serve as Liquidating Trustee
pursuant to the Plan, the Confirmation Order, and this Agreement.

               NOW, THEREFORE, pursuant to the Plan and the Confirmation Order, in
consideration of the promises, the mutual agreements of the parties contained herein and therein,
and other good and valuable consideration, the receipt and sufficiency of which are hereby
acknowledged and affirmed, the parties hereby agree as follows:



                        Acceptance of Positions; Fiduciary of the Estate

                Section 1.1 Creation and Purpose of Liquidating Trust. The Liquidating
Debtors, the Liquidating Trustee, and the Committee hereby create the Liquidating Trust for the
primary purpose of reasonably maximizing the net proceeds from Liquidating Trust Assets and
distributing such net proceeds to the Liquidating Trust Beneficiaries in accordance with the Plan,
the Confirmation Order, and applicable tax statutes, rules, and regulations, and in an expeditious
but orderly manner, with no objective to continue or engage in the conduct of a trade or business.
In particular, and without limiting any other provisions hereof, the Liquidating Trustee shall
(a) liquidate and administer the Liquidating Trust Assets; (b) adjudicate, object to, settle,
compromise or otherwise liquidate the Claims; and (c) prosecute, compromise, and resolve the
Retained Causes of Action, subject to Article V.F of the Plan and Article VII of this Agreement.

                  Section 1.2 Declaration of Trust. In order to declare the terms and conditions
hereof, and in consideration of the confirmation of the Plan, the Liquidating Debtors, the
Liquidating Trustee, and the Committee have executed this Agreement and, effective on the
Effective Date, the Liquidating Debtors hereby irrevocably transfer to the Liquidating Trust, all
right, title, and interests of the Liquidating Debtors in and to the Liquidating Trust Assets, pursuant
and subject to the terms of the Plan and the Confirmation Order for the benefit of the Liquidating
Trust Beneficiaries and their permitted successors and assigns as provided for in this Agreement
and in the Plan and Confirmation Order.

                 Section 1.3 Transfer and Vesting of the Liquidating Trust Assets. (a) On the
Effective Date, pursuant to the terms of the Plan, the Liquidating Trust Assets (not otherwise
abandoned pursuant to the terms of the Plan), including all such assets held or controlled by third
parties, if any, shall be vested in the Liquidating Trust, which also shall, without limiting any of
the other provisions hereof, own and be authorized to obtain, liquidate, and collect all of the
Liquidating Trust Assets in the possession of third parties, if any, pursue all of the Retained Causes
of Action, and make Distributions of the net proceeds thereof to Liquidating Trust Beneficiaries.
All Liquidating Trust Assets shall be transferred and delivered to the Liquidating Trust free and
clear of interests, Claims, Liens, or other encumbrances of any kind, except as otherwise
specifically provided in the Plan, the Confirmation Order, or the Final DIP Order. The Liquidating


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Trustee shall have no duty to arrange for any of the transfers of Liquidating Trust Assets or books
and records contemplated to the Liquidating Trust or to ensure that such transfers are in compliance
with the terms of the Plan and the Confirmation Order, and the Liquidating Trustee shall be
conclusively entitled to rely on the legality and validity of such transfers as made by or on behalf
of the Liquidating Debtors. The Liquidating Trust will be the successor-in-interest to each of the
Liquidating Debtors and the Committee with respect to any Retained Causes of Action (including,
without limitation, all arbitrations, mediations and other dispute resolutions) and shall have
standing to pursue any that could have been commenced by any of the Liquidating Debtors or the
Committee prior to the Effective Date that is a Liquidating Trust Asset and shall be deemed
substituted for the same as the party in all such Retained Causes of Action.

                (b)    This Agreement is intended to create a trust and a trust relationship and the
Liquidating Trust is to be governed and construed in all respects as a trust. The Liquidating Trust
is not intended to be, and shall not be deemed to be or treated as, a general partnership, limited
partnership, joint venture, corporation, joint stock company or association, nor shall the
Liquidating Trustee, or the Liquidating Trust Beneficiaries, or any of them, for any purpose be, or
be deemed to be or treated in any way whatsoever to be, liable or responsible hereunder as partners
or joint venturers. The relationship of the Liquidating Trust Beneficiaries, on the one hand, to the
Liquidating Trust and the Liquidating Trustee, on the other, shall not be deemed a principal or
agency relationship, and their rights shall be limited to those conferred upon them by this
Agreement and the Plan.

                (c)    In accordance with Section 1123(b) of the Bankruptcy Code, the
Liquidating Trustee has standing to and may enforce all rights to commence and pursue, as
appropriate, any and all Retained Causes of Action from and after the Effective Date. Without in
any way limiting anything set forth in the Plan, the Confirmation Order, or this Agreement, no
Entity may rely on the absence of a specific reference in the Plan to any Retained Causes of Action
against any Entity as any indication that the Liquidating Trustee will not or may not pursue any
and all available Retained Causes of Action against such Entity. Unless any Retained Causes of
Action against an Entity are expressly waived, relinquished, exculpated, released, compromised,
or settled in the Plan or a Bankruptcy Court order, including the Confirmation Order, the
Liquidating Trustee expressly reserves all Retained Causes of Action for later adjudication, and,
therefore, no preclusion doctrine, including the doctrines of res judicata, collateral estoppel, issue
preclusion, claim preclusion, estoppel (judicial, equitable, or otherwise) or laches, shall apply to
such Retained Causes of Action upon, after, or as a consequence of the Plan, confirmation of the
Plan, entry of the Confirmation Order or occurrence of the Effective Date. Any objections to the
allowance of any Claims Filed with the Bankruptcy Court that dispute liability, priority, and/or
amount (or any objections, affirmative defenses and/or counterclaims, whether or not litigated to
Final Order) shall not in any way limit the ability or the right of the Liquidating Trustee to assert,
commence or prosecute any Retained Causes of Action against the Holder of such Claim.

                (d)     In furtherance of the terms of the Plan, on the Effective Date, each of the
Liquidating Debtors’ directors, officers, and employees shall be terminated automatically by the
Liquidating Debtors without the need for any corporate action or approval and without the need
for any corporate filings, and, following the occurrence of the Effective Date, the terminated
directors, officers and employees shall have no continuing obligations to the Liquidating Debtors


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and the Liquidating Trust shall have no obligations to the terminated directors, officers and
employees in their respective capacities as such.

               Section 1.4 Acceptance. Varsalone hereby (a) accepts appointment as the
Liquidating Trustee and (b) agrees to observe and perform all duties and obligations imposed upon
the Liquidating Trustee under the Plan, the Confirmation Order, this Agreement, and other orders
of the Bankruptcy Court and applicable law.

                Section 1.5 Appointment. The Liquidating Trustee has been selected pursuant to
the provisions of the Plan and has been appointed as of the Effective Date. The Liquidating
Trustee’s appointment shall continue until the earlier of (a) the termination of this Agreement as
set forth herein, or (b) the Liquidating Trustee’s resignation, death, or removal, in each case in
accordance with the provisions of this Agreement and the Plan.

              Section 1.6 Fiduciary. The Liquidating Trustee shall be a fiduciary of the
Liquidating Debtors and their Estates, and shall perform his obligations consistent with the Plan,
the Confirmation Order, this Agreement, and other orders of the Bankruptcy Court and applicable
law.

                Section 1.7 Capacity of Liquidating Trustee. Notwithstanding any state or
federal law to the contrary or anything herein, the Liquidating Trustee shall himself have the
capacity to act or refrain from acting, on his own behalf, including the capacity to sue and be sued,
subject to the limitations herein. The Liquidating Trustee may alone be the named movant,
respondent, party plaintiff or defendant, or the like in all adversary proceedings, contested matters,
and other cases or proceedings brought by or against him, and may settle and compromise all such
matters in his own name, and the Liquidating Trustee shall be deemed to be a party in interest for
purposes of contesting or settling objections to Claims against the Liquidating Debtors. The
Liquidating Trustee shall be vested with all the powers and authority that has been granted to him
under the Plan, the Confirmation Order, and this Agreement. The Liquidating Trustee shall be
authorized to use Bankruptcy Rule 2004 and any other bankruptcy or other tools of discovery
available to the Liquidating Debtors or their Estates, solely as it relates to administering the
Liquidating Trust Assets.



                     Funding of Liquidating Trustee’s Fees and Expenses

               Section 2.1 Prior to the Effective Date, an amount of Cash estimated by the
Liquidating Debtors sufficient to perform the functions of the Liquidating Trustee in connection
with his responsibilities, including fees for his counsel, shall be placed into a segregated account
held by the Liquidating Trustee, and which segregated amount shall not limit the fees and expenses,
including fees and expenses for professionals of the Liquidating Trustee in the performance of his
duties. Any excess amount remaining in the account in connection with the closing of the Chapter
11 Cases will be treated as distributable Cash to Holders of Allowed General Unsecured Claims.




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                                  Role of Liquidating Trustee

               Section 3.1     Role of Liquidating Trustee. As more fully set forth in Article VI
herein, the Liquidating Trustee shall have the power to administer the Liquidating Trust Assets and
make or authorize Distributions to Holders of Allowed Claims.

                Section 3.2 No Implied Obligations. The Liquidating Trustee shall not be liable
to the Liquidating Debtors or any other party except for the performance of such duties and
obligations as are specifically set forth herein, and no implied covenants or obligations shall be
read into this Agreement against the Liquidating Trustee.

               Section 3.3 Employment of Other Persons. The Liquidating Trustee may
employ one or more persons to assist him with performing his duties under the Plan as described
in further detail in Sections 6.4 and 6.5 herein and such persons may be employees of the
Liquidating Debtors and Professionals employed in the Chapter 11 Cases.

               Section 3.4 Limitations on Liquidating Trustee. Notwithstanding anything to the
contrary under applicable law, the Liquidating Trustee shall not take, assert, commence, pursue,
bring, continue or obtain, as applicable, any Retained Cause of Action against any Released Party.



                          Distributions to Holders of Allowed Claims

               Section 4.1 Distributions. The Liquidating Trustee shall make Distributions on
account of Allowed Claims in accordance with the Plan.

                Section 4.2 Interest on Claims. Unless otherwise specifically provided by the
Plan, the Confirmation Order, any other order of the Bankruptcy Court or by applicable bankruptcy
law, postpetition interest, fees, costs, and other charges shall not accrue and shall not be paid on
any Allowed Claim.

                Section 4.3 Record Date for Distributions. On the Distribution Record Date, the
Claims Register of the Liquidating Debtors shall be closed, subject to objections to Claims by the
Liquidating Trustee and the resolution thereof, and the Liquidating Trustee shall be authorized and
entitled to recognize only those record Holders of Claims listed on such Claims Register as of the
close of business on the Distribution Record Date.

              Section 4.4 Cash Distributions. Distributions of Cash may be made either by
check drawn on a domestic bank or wire transfer from a domestic bank, at the option of the
Liquidating Trustee, except that Cash payments made to foreign Holders of Allowed Claims may
be made in such funds and by such means as are necessary or customary in a particular foreign
jurisdiction.




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               Section 4.5    Delivery of Distributions.

               (a)     Addresses for Delivery

                Distributions to Holders of Allowed Claims shall be made to the Holders of record
as of the Distribution Record Date by the Liquidating Trustee as follows: (1) at the addresses set
forth on the Proofs of Claim Filed by such Holders, (2) at the addresses set forth in any written
notices of address changes delivered to the Liquidating Debtors or Liquidating Trustee after the
date of any related Proof of Claim, (3) at the addresses reflected in the Schedules if no Proof of
Claim has been Filed and the Liquidating Trustee has not received a written notice of a change of
address, or (4) at the addresses set forth in the other records of the Liquidating Debtors or the
Liquidating Trustee at the time of the Distribution. The Liquidating Trustee shall seek to use the
most recent, currently valid address among the foregoing for purposes of making a Distribution to
any particular Liquidating Trust Beneficiary, but shall not be responsible for ascertaining or
verifying the accuracy of such addresses and shall not incur any liability whatsoever on account
of any undeliverable Distributions under the Plan resulting from incorrect addresses.

               (b)     Undeliverable Distributions

               In the event that any Distribution to any Holder of an Allowed Claim is returned as
undeliverable, no Distribution to such Holder shall be made unless and until the Liquidating
Trustee shall have determined the then-current address of such Holder, at which time such
Distribution shall be made to such Holder without interest.

               (c)     Reversion

                Notwithstanding the foregoing provision, any Distribution under the Plan on
account of an Allowed Claim that is an Unclaimed Distribution for a period of 90 days from the
application Distribution Date, pursuant to Article VII.E.2 of the Plan, shall be deemed unclaimed
property under section 347(b) of the Bankruptcy Code. From and after the expiration of such
period, all such unclaimed property or interests in property shall revert to the Liquidating Trustee
(notwithstanding any applicable federal or state escheat, abandoned, or unclaimed property laws
to the contrary) and shall be distributed in accordance with the terms of the Plan and this
Agreement, and the Claim of any Holder to such property or interest in property shall be discharged
and forever barred.

               Section 4.6    Claims Paid or Payable by Third Parties.

               (a)     Claims Paid by Third Parties

               The Liquidating Debtors or the Liquidating Trustee, as applicable, shall reduce a
Claim, and such Claim shall be Disallowed without a Claim(s) objection having to be Filed and
without any further notice to or action, order or approval of the Bankruptcy Court, to the extent
that the Holder of such Claim receives payment on account of such Claim from a party that is not
a Liquidating Debtor. To the extent a Holder of a Claim receives a Distribution on account of such
Claim and receives payment from a party that is not a Liquidating Debtor, such Holder shall, within
fourteen (14) days of receipt thereof, repay or return the Distribution to the Liquidating Trustee,


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to the extent the Holder’s total recovery on account of such Claim from the third party and under
the Plan exceeds the amount of such Claim as of the Effective Date.

               (b)    Claims Payable by Insurers

                Holders of Claims that are covered by the Liquidating Debtors’ insurance policies
shall first seek payment of such Claims from applicable insurance policies, provided that the
Liquidating Debtors and the Liquidating Trustee, as applicable, shall have no obligation to pay
any amounts in respect of prepetition deductibles or self-insured retention amounts. No
Distributions under the Plan shall be made on account of an Allowed Claim that is payable pursuant
to one of the Liquidating Debtors’ insurance policies until the Holder of such Allowed Claim has
exhausted all remedies with respect to such insurance policy. To the extent that one or more of the
Liquidating Debtors’ insurers agrees to satisfy in full or in part a Claim (if and to the extent
adjudicated by a court of competent jurisdiction), then immediately upon such insurers’ agreement,
the applicable portion of such Claim may be expunged without an objection having to be Filed and
without any further notice to or action, order, or approval of the Bankruptcy Court.

               (c)    Applicability of Insurance Policies

               Except as otherwise provided in the Plan, Distributions to Holders of Allowed
Claims shall be in accordance with the provisions of any applicable insurance policy. Nothing
contained in this Agreement or the Plan shall constitute or be deemed a waiver of any Retained
Cause of Action that the Liquidating Debtors or any Entity may hold against any other Entity,
including insurers under any policies of insurance, nor shall anything contained herein constitute
or be deemed a waiver by such insurers of any defenses, including any coverage defenses, held by
such insurers.

                Section 4.7 Withholding and Reporting Requirements/Allocation. In connection
with the Plan and Distributions to the Holders of Allowed Claims, the Liquidating Trustee shall
comply with all tax withholding and reporting requirements imposed on the Liquidating Trustee
by any Governmental Unit and all Distributions pursuant to the Plan shall be subject to any such
withholding and reporting requirements. To the extent that any Allowed Claim entitled to a
Distribution under the Plan is composed of indebtedness and accrued but unpaid interest thereon,
each Holder of an Allowed Claim shall have the option to apply such Holder’s Pro Rata share of
consideration distributed under the Plan (cash or value) to satisfy outstanding principal of or
accrued interest on such Holder’s Allowed Claim, as such allocation is determined by such Holder
in its sole discretion. Notwithstanding any provision in the Plan to the contrary, the Liquidating
Trustee shall be authorized to take all actions necessary or appropriate to comply with any tax
withholding and reporting requirements, including:

              (a)     liquidating a portion of the Distributions to be made to Holders of Allowed
Claims under the Plan to generate sufficient funds to pay applicable withholding taxes;

               (b)  withholding Distributions pending receipt of receipt of a completed IRS
Form W-9 or applicable IRS Form W-8, and any other information necessary to accomplish such
Distributions; or



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                (c)     establishing any other mechanisms he believes are reasonable and
appropriate.

              The Liquidating Trustee reserves the right to allocate all Distributions made under
the Plan in compliance with all applicable wage garnishments, alimony, child support and other
spousal awards, liens, and encumbrances.

                Section 4.8 Minimum Distributions. No Distribution shall be required to be
made hereunder to any Holder of a Claim unless such Holder is to receive in such Distribution at
least $50.00. Any interim Distribution less than $50.00 shall be held in trust for the relevant Holder
until the Distribution to that Holder equals at least $50.00. If as of the date of the final Distribution
the Liquidating Trustee is holding funds for Distribution to certain Holders of Claims that are less
than $50.00 for each such Holder, those funds shall be deemed unclaimed property and treated
pursuant to Article VII.E.2 of the Plan.



                      Procedures for Resolving Disputed, Contingent and
                           Unliquidated General Unsecured Claims

                Section 5.1     Objections to Claims.

                (a)     Authority

               Except as otherwise specifically provided in the Plan or this Agreement and
notwithstanding any requirements that may be imposed pursuant to Bankruptcy Rule 9019, after
the Effective Date, the Liquidating Trustee shall have the exclusive authority to File, settle,
compromise, withdraw, or litigate to judgment any objections to Claims as permitted under the
Plan and this Agreement. From and after the Effective Date and subject to Article V.F of the Plan
and this Agreement, the Liquidating Trustee may settle or compromise any Disputed Claim
without the necessity of Bankruptcy Court approval. The Liquidating Trustee may also resolve
any Disputed Claim outside the Bankruptcy Court under applicable governing law.

                (b)     Claims Objection Deadline

                 Unless otherwise ordered by the Bankruptcy Court, the Liquidating Trustee shall
File all objections to Claims by no later than one year after the Effective Date, except to the extent
that any such Claim is Filed on or after the Effective Date, in which case, the Liquidating Trustee
shall have until the later of one year after the Effective Date or 90 days after such claim is Filed to
File an objection to such Claim. Notwithstanding the foregoing, if the Liquidating Trustee
determines that an extension of time is warranted, the Liquidating Trustee may seek the
Bankruptcy Court’s approval to extend such time by a period of an additional 180 days, without
prejudice to the Liquidating Trustee’s request to seek additional extensions from the Bankruptcy
Court.

               Section 5.2 Estimation of Claims. The Liquidating Trustee may, at any time,
request that the Bankruptcy Court estimate any contingent or unliquidated Claim pursuant to
section 502(c) of the Bankruptcy Code, regardless of whether the Liquidating Trustee has

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previously objected to such Claim or whether the Bankruptcy Court has ruled on any objection,
and the Bankruptcy Court will retain jurisdiction to estimate any Claim at any time during litigation
concerning any objection to any Claim, including during the pendency of any appeal related to any
such objection. In the event the Bankruptcy Court estimates any contingent or unliquidated Claim,
that estimated amount will constitute either the Allowed amount of such Claim or a maximum
limitation on such Claim, as determined by the Bankruptcy Court. If the estimated amount
constitutes a maximum limitation on such Claim, the Liquidating Trustee may elect to pursue any
supplemental proceedings to object to any ultimate payment on such Claim. All of the
aforementioned objection, estimation, and resolution procedures are cumulative and are not
necessarily exclusive of one another. Claims may be estimated and thereafter resolved by any
permitted mechanism.

                Section 5.3 No Distributions Pending Allowance. No payment or Distribution
provided under the Plan shall be made to the extent that any Claim is a Disputed Claim, including
if an objection to a Claim or portion thereof is Filed as set forth in Article VIII of the Plan, unless
and until such Disputed Claim becomes an Allowed Claim; provided that any portion of a Claim
that is an Allowed Claim shall receive the payment or Distribution provided under the Plan thereon
notwithstanding that any other portion of such Claim is a Disputed Claim.

                Section 5.4 Distributions After Allowance. To the extent that a Disputed Claim
ultimately becomes an Allowed Claim, Distributions (if any) shall be made to the Holder of such
Allowed Claim in accordance with the provisions of the Plan. As soon as reasonably practicable
after the date that the order or judgment of the Bankruptcy Court allowing any Disputed Claim
becomes a Final Order, and subject to the administration of the Reserves and Liquidating Trust in
the Liquidating Trustee’s discretion, the Liquidating Trustee shall provide to the Holder of such
Claim the Distribution (if any) to which such Holder is entitled under the Plan as of the Effective
Date.

                Section 5.5 Disputed Claims Reserve. The Liquidating Trustee shall hold Cash
in a Disputed General Unsecured Claims Reserve and a Claims Reserve from the Liquidating Trust
Cash in trust and solely for the benefit of the Holders of Claims as provided in the Plan and
ultimately determined to be Allowed after the Effective Date. The Liquidating Trustee shall
distribute such amounts (net of any expenses, including any taxes relating thereto), as provided in
the Plan or herein, as such Disputed Claims are resolved by a Final Order or agreed to by
settlement, and such amounts will be distributable on account of such Disputed Claims as such
amounts would have been distributable had such Disputed Claims been Allowed Claims as of the
Effective Date.

                 Section 5.6 Claims Already Satisfied. Notwithstanding the contents of the
Schedules, Claims listed therein as undisputed, liquidated and not contingent shall be reduced by
the amount, if any, that was paid by the Liquidating Debtors or any third party prior to the Effective
Date, including pursuant to orders of the Bankruptcy Court. To the extent such payments are not
reflected in the Schedules, such Schedules shall be deemed amended and reduced to reflect that
such payments were made. The Liquidating Trustee is authorized, and without any further notice
to or action, order or approval of the Bankruptcy Court, to direct the Notice and Claims Agent to
update the official claims register maintained in the Chapter 11 Cases in accordance with the
satisfaction or reduction of any Claims pursuant to the Plan or this Section 5.6. Nothing in the Plan

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shall preclude the Liquidating Trustee from paying Claims that the Liquidating Debtors were
authorized to pay pursuant to any Final Order entered by the Bankruptcy Court prior to the
Effective Date.



             General Powers; Rights and Obligations of the Liquidating Trustee

               Section 6.1     General Powers.

                (a)     The Liquidating Trustee shall be a fiduciary of the Liquidating Debtors and
their Estates and shall have all powers, authority, and responsibilities specified in the Plan and this
Agreement. In particular, the Liquidating Trustee’s rights, duties, and powers shall include, but are
not limited to, the following:

                        (1)   exercise all power and authority that may be or could have been
       exercised, commence all proceedings that may be or could have been commenced, and take
       all actions that may be or could have been taken, by any officer, director or shareholder of
       the Liquidating Debtors or their Estates with like effect as if duly authorized, exercised and
       taken by unanimous action of such officers, directors and shareholders hold and administer
       the Cash that comprises the Liquidating Trust Cash;

                      (2)    pay, from the Liquidating Trust Cash, all out of pocket expenses
       incurred in connection with the discharge of his duties under the Plan;

                      (3)    make Distributions to Holders of Allowed Claims as provided in the
       Plan and in this Agreement;

                      (4)     to the extent necessary, open and maintain bank accounts on behalf
       of or in the name of the Liquidating Trust, draw checks and drafts thereon by the sole
       signature of the Liquidating Trustee, and terminate such accounts as the Liquidating
       Trustee deems appropriate, and take other actions consistent with the Plan and the
       implementation thereof, including but not limited to the establishment, re-evaluation,
       adjustment, and maintenance of appropriate reserves, in the name of the Liquidating Trust,
       provided that the Liquidating Trustee need not maintain the Liquidating Trust’s reserves in
       segregated bank accounts and may pool funds in the reserves with each other and other
       funds of the Liquidating Trust; provided, however, that the Liquidating Trust shall treat all
       such reserved funds as being held in segregated accounts in its books and records;

                   (5)     File, prosecute, and/or withdraw objections to Claims, and
       compromise or settle any Claims and/or objections thereto, whether prior to or after
       objection;

                       (6)    commence, prosecute, compromise, settle, withdraw, abandon, or
       resolve any or all Retained Causes of Action, or otherwise preserve. protect and enforce
       the rights to the Liquidating Trust Assets by any method deemed appropriate including,
       without limitation, by judicial proceedings or pursuant to any applicable bankruptcy,
       insolvency, moratorium, or similar law and general principles of equity;

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                       (7)     coordinate with the Notice and Claims Agent to administer and
       adjust the official claims register maintained for the Chapter 11 Cases (solely with respect
       to Claims) to reflect any such settlements or compromises authorized by the Bankruptcy
       Court or under the Plan and this Agreement, without any further notice to or action, order
       or approval by the Bankruptcy Court;

                     (8)     hold legal title to, and exercise authority with respect to, any and all
       Liquidating Trust Assets;

                      (9)    retain or engage professionals, employees, and consultants, and pay
       such professionals, employees, and consultants the reasonable fees and expenses incurred
       by the Liquidating Trustee as set forth in Section 6.5 herein;

                       (10) wind-down or close the corporate affairs of any of the Liquidating
       Debtors, finalize the dissolution of the Liquidating Debtors to the extent required, and hire,
       if appropriate, former Professionals of the Debtors or their Estates, and/or employees of
       the Debtors or Liquidating Debtors to the extent their services assist with such or other
       actions concerning the Liquidating Trust;

                      (11) such other activities as necessary and consistent to fulfill the
       Liquidating Trustee’s duties as set forth in the Plan and this Agreement and to effect the
       provisions of the Plan.

               (b)     The Liquidating Trustee shall not at any time enter into or engage in any
trade or business that would create a conflict with the Liquidating Debtors.

               (c)    The Liquidating Trustee shall be required to obtain the prior consent or
authorization of the Oversight Board in order to take any of the actions set forth in Section 7.2 of
this Agreement, and as provided in Article V.F of the Plan.

               Section 6.2 Resignation or Incapacity of Liquidating Trustee. In the event of the
resignation or incapacity of the Liquidating Trustee, a successor Liquidating Trustee may be
appointed in accordance with this Agreement. The Liquidating Trustee may resign at any time
upon 30 days’ notice Filed with the Bankruptcy Court (the “Resignation Notice”), provided that
such resignation shall only become effective upon the appointment of a successor Liquidating
Trustee. Any successor Liquidating Trustee appointed under this Section 6.2 shall execute an
engagement letter and an instrument accepting its appointment under the Plan, the Confirmation
Order, and this Agreement, and shall File copies of each with the Bankruptcy Court. Thereupon,
the successor Liquidating Trustee, without any further act, shall become fully vested with all of
the rights, powers, duties, and obligations of its predecessor under the Plan, the Confirmation
Order, and this Agreement, and all responsibilities of the predecessor Liquidating Trustee shall be
terminated.

               Upon the death, disability, or resignation of the Liquidating Trustee, the Oversight
Board shall select the successor Liquidating Trustee by its majority determination.

              Section 6.3 Maintenance of Privileges. (a) The attorney-client privilege, the
attorney work product doctrine and any similar privilege against disclosure, and all other similar

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immunities, of the Liquidating Debtors and the Committee shall extend to the Liquidating Trustee
and his representatives, and there shall be no waiver of any privileges for sharing information
and/or documents with the Liquidating Trustee. Any dispute over whether such privileges,
immunities or documents are waived shall be determined by the Bankruptcy Court.

                (b)     The Committee and its advisors, notwithstanding the Committee’s
dissolution following the Effective Date, shall be permitted to share any discovery obtained
relating to the Liquidating Debtors or Retained Causes of Action with the Liquidating Trustee and
his representatives without waiver of any privileges. The Liquidating Trustee shall automatically
succeed to the Committee’s rights and duties under any protective order applicable to any such
discovery, without the need for any further order of the Bankruptcy Court or action by any other
Entity. In addition, notwithstanding the Committee’s dissolution following the Effective Date, all
rights and privileges of the Committee in connection with all Bankruptcy Rule 2004 examinations,
orders, protective orders, and agreements related thereto shall vest in the Liquidating Trustee, and
the Liquidating Debtors, Committee and the Liquidating Trustee are authorized to take all
necessary actions to effectuate the transfer of such rights and privileges.

               Section 6.4 Retention of Attorneys, Accountants and Other Professionals. The
Liquidating Trustee may retain professionals to aid the Liquidating Trustee in the performance of
his responsibilities under the terms of the Plan, the Confirmation Order, and this Agreement,
including reconciliation of Disputed Claims and Distributions to Holders of Allowed Claims. The
professionals retained by the Liquidating Trustee may include:

               (a)     law firm(s) as the Liquidating Trustee may deem advisable to aid the
Liquidating Trustee in the performance of his duties and to perform such other functions as may
be appropriate to carry out the primary purposes of the Plan. In particular, the Liquidating Trustee
expressly may engage Porter Hedges LLP as the Liquidating Trustee deems appropriate and
advisable, without the need for consent by the Oversight Board, provided, however, that Porter
Hedges LLP agrees to a 10% discount from its standard rates otherwise applicable at the time that
it renders such services to the Liquidating Trustee, to reasonably attempt to maximize the
performance of the underlying billable services by its associates; and

               (b)      such other accountants, experts, advisors, consultants, investigators,
appraisers, auctioneers or other professionals as are advisable to carry out and effect the terms of
the Plan, the Confirmation Order, and this Agreement. In particular, the Liquidating Trustee
expressly may engage G2 Capital Advisors, LLC (“G2 Capital”) as the Liquidating Trustee deems
appropriate and advisable, without the need for consent by the Oversight Board, provided,
however, that: (i) G2 Capital agrees that its highest rate of services, for Senior Managing Directors
(presently $850 per hour), shall not apply to the engagement and G2 Capital Advisors will bill the
Liquidating Trustee at rates that are no greater than its standard rates at the time that its services
are rendered, and (ii) G2 Capital and the Liquidating Trustee agree to use their best efforts to keep
their blended hourly rate at a rate of not more than $400/hour, including by, but not limited to,
routing and concentrating and the work to be performed to and with G2 Capital’s professionals
having the lowest rates and having prior institutional knowledge where reasonably possible.




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               Section 6.5     Compensation of Liquidating Trustee and Professionals.

                (a)    The Liquidating Trustee shall receive compensation for services rendered
and expenses incurred in fulfilling his duties pursuant to the Plan, the Confirmation Order, and this
Agreement, including any necessary services rendered and reasonable expenses incurred prior to
the date that this Agreement becomes effective. The Liquidating Trustee shall be compensated at
his current rate of $750/hour. The Liquidating Trustee shall also be entitled to reimbursement for
all reasonable out-of-pocket expenses incurred in connection with this Agreement, such as travel,
lodging and meals, in accordance with and subject to the Plan. The compensation of the
Liquidating Trustee and his professionals, as well as for reimbursement of their out of pocket
expenses, shall not be subject to approval of the Bankruptcy Court. For the avoidance of doubt,
the Liquidating Trustee’s fees and expenses will be paid solely from the Liquidating Trust Cash.

                (b)     On or before the last day of each month following the month for which
compensation is sought, each Liquidating Trustee professional seeking compensation shall serve
a monthly statement on the Liquidating Trustee detailing the compensation sought; provided,
however, that any professional’s failure to serve a monthly statement for any one or more months
shall not waive or impair the right of such professionals to subsequently seek compensation for all
or any number of such months in a later statement delivered to the Liquidating Trustee. The
Liquidating Trustee shall have five (5) business days from the date such statement is received to
review the statement and object to such statement by serving a written objection on the professional
setting forth the precise nature of the objection and the amount at issue. At the expiration of the
five (5) business-day period, the Liquidating Trustee shall promptly pay 100% of the amounts
requested, except for the portion of such fees and disbursements to which an objection has been
made. The parties shall attempt to consensually resolve objections, if any, to any monthly
statement. If the parties are unable to reach a consensual resolution, such professional may seek
payment of such fees by filing a motion with the Bankruptcy Court on proper notice to the
Liquidating Trustee. The Liquidating Trustee shall provide copies of its professional fee invoices,
including any dispute of such invoices, to the Oversight Board.

               Section 6.6 Timely Performance. In accordance with the terms of the Plan, the
Liquidating Trustee shall make reasonable continuing efforts to object to and reconcile Claims,
including such Claims that are Disputed Claims, and make timely Distributions to Allowed Claims.

                Section 6.7 Conflicts of Interest. Conflicts of interest of the Liquidating Trustee
will be addressed by the Liquidating Trustee appointing a disinterested person to handle any matter
where the Liquidating Trustee has identified a conflict of interest or the Bankruptcy Court, on
motion of a party in interest, determines one exists. In the event the Liquidating Trustee is
unwilling or unable to appoint a disinterested person to handle any such matter, or a party in interest
objects to a disinterested person appointed by the Liquidating Trustee, such party in interest may
File an objection with the Bankruptcy Court, on notice to the Liquidating Trustee, setting forth
such objection and seeking entry of an order of the Bankruptcy Court appointing a disinterested
person.

              Section 6.8 Insurance. Using any available Liquidating Trust Cash, the
Liquidating Trustee shall purchase directors’ and officers’ liability insurance that covers the Board
Members in addition to the Liquidating Trustee in an amount not less than $5 million. In addition,

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the Liquidating Trustee may purchase, using the Liquidating Trust Cash, and carry, any additional
insurance policies and pay all insurance premiums and costs the Liquidating Trustee deems
reasonably necessary or advisable, including, without limitation, purchasing any errors and
omissions insurance with regard to any losses it may incur, arising out of or due to its actions or
omissions, or consequences of such actions or omissions, other than as a result of its fraud or
willful misconduct, with respect to the implementation and administration of the Plan or this
Agreement.

              Section 6.9 Final Accounting. The Liquidating Trustee (or any such successor
Liquidating Trustee) shall within 30 days after termination of this Agreement pursuant to Article
X hereunder, or the death, disability, or resignation of the Liquidating Trustee, render an
accounting (and File it with the Bankruptcy Court) containing the following information:

               (a)    a summarized accounting of all disbursements, payments and any other
                      transactions in connection with the Liquidating Trust Cash;

               (b)    a description of all Disputed Claims and the status thereof; and

               (c)    a copy of the official claims register.



                                        Oversight Board

               Section 7.1 Appointment and Creation of Oversight Board. On the Effective
Date, an Oversight Board for the Liquidating Trust shall be created (“Oversight Board”). The
Oversight Board shall be comprised of three members (each a “Board Member”): (a) one member
selected by the Committee, (b) one member selected by the Liquidating Debtors, and (c) an
independent member that the Committee and the Liquidating Debtors shall agree upon (“Jointly
Designated Member”). The Committee shall also select a successor member (the “Designated
Successor”) in case the term of the Board Member selected by the Committee ends pursuant to
Section 7.4 herein. The initial members of the Oversight Board are set forth on Exhibit A.

               Section 7.2 Duties of Oversight Board. The Oversight Board shall be
responsible for (a) approving any settlement of a Retained Cause of Action against any Insiders,
Prepetition Agents or Prepetition Secured Parties; (b) determining to abandon or not pursue a
Retained Cause of Action against any Insiders, Prepetition Agents or Prepetition Secured Parties,
including approving the filing of any complaint or claim objection; (c) approving the Liquidating
Trustee’s decision to hire or replace any counsel or expert employed for the purposes of the
Liquidating Trustee’s prosecution of a Retained Cause of Action against any Insiders, Prepetition
Agents or Prepetition Secured Parties; (d) approving the termination or dissolution of the
Liquidating Trust and this Agreement pursuant to Section 10.1 herein; (e) approving any proposed
agreement or expenditure exceeding $350,000.00; (f) approving whether to remove a Board
Member pursuant to Section 7.4 herein; and (g) consenting to any amendment to this Agreement
pursuant to Section 11.11 herein, or proposed modification of the Plan.

             Section 7.3 Compensation of Oversight Board. Each Board Member shall
receive compensation not to exceed $675 per hour and be entitled to reimbursement of reasonable

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expenses until this Agreement and the Liquidating Trust are terminated and dissolved pursuant to
Section 10.1 herein.

                Section 7.4 Term of Board Members. The Board Members shall serve until
death, resignation, or removal.

               (a)    Resignation

                A Board Member may resign at any time by providing a written notice of
resignation to the remaining members of the Oversight Board. Such resignation shall be effective
after such notice is delivered and the resigning Board Member’s successor is designated.

               In the event of resignation or removal of a Board Member, the exiting member shall
designate its replacement, provided, however, that, (i) in the case of the Committee-appointed
Board Member, if the exiting Board Member is unable to select a successor, the Designated
Successor shall be appointed; and (ii) if a Board Member’s term expires because of death or
incapacity without the Board member’s designation of a successor, the remaining Board members
shall agree upon the successor.

               Any Board Member designated to replace the Jointly Designated Member shall be
a bankruptcy professional with no connection with the Debtors, Committee members, any Insiders,
a Prepetition Agent, or any Prepetition Secured Parties.

               (b)    Removal

               A Board Member may be removed solely for fraud, gross negligence, or willful
misconduct.

               Section 7.5 Voting. The affirmative vote of a majority of the Board Members is
required with respect to any matter listed in Section 7.2 that requires the determination, consent,
approval or agreement of the Oversight Board, provided, however, that amendments to this
Agreement are governed by Section 11.11 of this Agreement and must be approved by: (i)
unanimous consent of the Oversight Board; or (ii) an order of the Bankruptcy Court upon a motion
by the Liquidating Trustee with the majority consent of the Oversight Board.



                          Standard of Care; Limitations on Liability

               Section 8.1    Standard of Care; Exculpation.

               (a)    Standard of Care

              The Liquidating Trustee shall perform the duties and obligations imposed on the
Liquidating Trustee by this Agreement in the utmost good faith.




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               (b)     Exculpation

                Neither the Liquidating Trustee, nor any director, officer, affiliate, employee,
employer, professional, agent, or representative of the Liquidating Trustee, each in its capacity as
such (the “Exculpated Parties”) shall be liable for losses, claims, damages, liabilities, obligations,
settlements, proceedings, suits, judgments, causes of action, litigation, actions, investigations
(whether civil or administrative and whether sounding in tort, contract or otherwise), penalties,
costs, and expenses, including reasonable fees and disbursements incurred, caused by, relating to,
based upon, or arising out of (directly or indirectly) the Exculpated Party’s execution, delivery,
and acceptance of or the performance or nonperformance of its powers, duties, and obligations
under this Agreement, the Plan, the Confirmation Order, any other order of the Bankruptcy Court
or applicable law or as may arise by reason of any action, omission or error of an Exculpated Party;
provided, however, that the foregoing limitation shall not apply to any acts or omissions
determined by Final Order to be the direct result of such Exculpated Party’s fraud, willful
misconduct, or gross negligence. None of the Exculpated Parties is deemed to be responsible for
any other Exculpated Party’s actions or inactions. The foregoing exculpation with respect to any
Exculpated Party shall survive the termination of such Exculpated Party from the capacity for
which it was deemed exculpated.

               Section 8.2 Limitation of Liability. No Exculpated Party shall be liable under
any legal theory, including, without limitation, for punitive, remote or speculative damages under
any circumstances, even if it has been advised of the possibility of such damages.

                Section 8.3 Indemnification. The Liquidating Debtors shall jointly indemnify
the Liquidating Trustee, and its (as applicable) partners, employees, managers, principals, agents,
affiliates, independent contracts, insurers (collectively, the “Indemnified Persons”) from and
against any and all pending or threatened claims, demands, suits, investigations, proceedings,
judgments, awards, liabilities, losses, damages, fees and expenses paid or incurred by any
Indemnified Person in connection with, arising out of or related to (whether from direct claims or
third party claims) the services provided pursuant to this Agreement (including but not limited to
any Indemnified Person’s reasonable counsel fees and expenses); provided, however, that in no
event shall the Liquidating Debtors’ liability under this provision exceed amounts remaining
available from the Liquidating Trust Cash and such indemnification shall be satisfied solely from
the Liquidating Trust Cash. The Liquidating Trustee shall be authorized, but shall not be required,
to purchase additional director and officer liability insurance coverage (in addition to the coverage
required in Section 6.8 hereof) which specifically names the Liquidating Trustee as a direct or
additionally insured party, provided that any such policy shall be paid for solely from the
Liquidating Trust Cash. The foregoing indemnification obligations shall not apply in the event that
a court of competent jurisdiction finally determines that such claims resulted directly from the
gross negligence, willful misconduct or fraudulent acts of the Indemnified Person.

                 Section 8.4 No Liability for Good Faith Error of Judgment. The Liquidating
Trustee shall not be liable for any error of judgment made in good faith, unless it shall be finally
determined by a Final Order that the Liquidating Trustee was grossly negligent in ascertaining the
pertinent facts.



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                                    Retention of Jurisdiction

                 Notwithstanding the entry of the Confirmation Order and the occurrence of the
Effective Date, under the Plan, the Confirmation Order and sections 105(a) and 1142(g) of the
Bankruptcy Code, the Bankruptcy Court shall retain jurisdiction over all matters arising out of or
related to the Chapter 11 Cases to the fullest extent legally permissible, including but not limited
to jurisdiction to:

               (a)     allow in whole or in part, disallow in whole or in part, determine, liquidate,
                       classify, estimate, or establish the amount of any Claim, including hearing
                       and determining any and all objections to the allowance or estimation of
                       Claims Filed and adjudicating any disputes between Holders of Claims
                       regarding rights to payment or turnover of consideration distributed under
                       the Plan, both before and after the Effective Date, including any objections
                       to the classification of any Claim;

               (b)     ensure that Distributions to Holders of Allowed Claims are accomplished as
                       provided herein and adjudicate any and all disputes arising from or relating
                       to Distributions under this Agreement and the Plan; and

               (c)     adjudicate, decide, or resolve any disputes arising in connection with the
                       interpretation, implementation, or enforcement of the Plan, this Agreement,
                       or actions involving the Liquidating Trustee.



                                           Termination

              Section 10.1 Termination. In accordance with the Plan and this Agreement, this
Agreement shall terminate immediately once (a) the Liquidating Trustee has distributed all of the
Liquidating Trust Cash (net of the Liquidating Trustee’s fees and expenses) to Holders of Allowed
Claims; and (b) the Oversight Board has approved the termination of the Liquidating Trust.

                 Section 10.2 Maximum Term. The term of this Agreement shall end no later than
the fifth (5th) anniversary of the Effective Date; provided, however, that, if warranted by the facts
and circumstances, and subject to the approval of the Bankruptcy Court, upon a finding that an
extension of the term of the Liquidating Trust is necessary to accomplish the purpose of the
Liquidating Trust, the Liquidating Trustee shall be authorized, on two or more successive
occasions, to extend the Liquidating Trust for six (6) months or longer provided that each such
extension is formally requested by motion Filed with the Bankruptcy Court prior to the beginning
of such requested, extended term. The Liquidating Trust may be terminated earlier than its
scheduled termination if the Liquidating Trustee has administered all of the Liquidating Trust
Assets and performed all other duties required by the Plan and this Agreement.




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                                        Miscellaneous

              Section 11.1 Governing Document. Upon the Effective Date, and subject to the
terms of the Plan and the Confirmation Order, this Agreement shall govern the Liquidating
Trustee. To the extent of any inconsistency between the Confirmation Order, the Plan, and this
Agreement, the terms of the Confirmation Order shall govern. To the extent of any inconsistency
between the Plan and this Agreement, the Plan shall govern.

               Section 11.2 Notices. All notices, requests, or other communications required or
permitted to be made in accordance with this Agreement shall be made in writing and delivered
personally, by facsimile transmission or electronic mail, or mailed by first class mail or by
overnight delivery service:

                     If to the Liquidating Trustee:

                              G2 Capital Advisors
                              535 Boylston Street
                              11th Floor
                              Boston, Massachusetts 02116
                              Attn: Jeffrey T. Varsalone
                              Phone:        (516) 410-6215
                              Email:        jvarsalone@g2cap.com


                             with copies to:

                              Porter Hedges LLP
                              1000 Main, 36th Floor
                              Houston, Texas 77002
                              Attn: John F. Higgins
                              Phone:       (713) 226-6000
                              Fax:         (713) 226-6628
                              Email:       jhiggins@porterhedges.com

              Notices sent out by (a) electronic or facsimile transmission shall be deemed
delivered when actually received, (b) first class mail shall be deemed delivered three Business
Days after mailing, and (c) by overnight delivery service shall be deemed delivered the next
Business Day after mailing.

               Section 11.3 Effectiveness. This Agreement shall become effective on the
Effective Date.

               Section 11.4 Counterparts. This Agreement may be executed in one or more
counterparts (via facsimile, electronic mail, or otherwise), each of which shall be deemed an
original but which together shall constitute but one and the same instrument.


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                Section 11.5 Governing Law. This Agreement shall be governed by, construed
under and interpreted in accordance with, the laws of the State of Texas without giving effect to
the principles of conflict of laws thereof.

             Section 11.6 Headings. Sections, subheadings, and other headings used in this
Agreement are for convenience only and shall not affect the construction of this Agreement.

               Section 11.7 Interpretative Provisions.

               (a)     All references to the plural herein shall also mean the singular and to the
                       singular shall also mean the plural, unless the context otherwise requires.

               (b)     All references to the Liquidating Debtors and the Liquidating Trustee
                       pursuant to the definitions set forth in the Recitals hereto, or to any other
                       person herein, shall include their respective successors and assigns.

               (c)     The words “hereof’, “herein”, “hereunder”, “this Agreement,” and words of
                       similar import when used in this Agreement shall refer to this Agreement as
                       a whole and not any particular provision of this Agreement, and as this
                       Agreement now exists or may hereafter be amended, modified,
                       supplemented, extended, renewed, restated, or replaced.

               (d)     The word “including” when used in this Agreement shall mean “including,
                       without limitation”.

              Section 11.8 Severability. Any provision of this Agreement which is prohibited
or unenforceable in any jurisdiction shall not invalidate the remaining provisions of this
Agreement, and any such prohibition or unenforceability in any jurisdiction shall neither invalidate
nor render unenforceable any such provision in any other jurisdiction.

                Section 11.9 No Suits by Creditors. No creditor of the Estates shall have any right
arising by virtue of any provision of this Agreement to institute any action or proceeding, in law
or in equity, against any party with respect to the Estates’ assets.

              Section 11.10 Enforcement and Administration. The Bankruptcy Court shall
enforce and administer the provisions of this Agreement, as set forth in the Plan and herein.

              Section 11.11 Amendment. This Agreement may only be amended by
(i) unanimous consent of the Oversight Board; or (ii) an order of the Bankruptcy Court upon a
motion by the Liquidating Trustee with the majority vote of the Oversight Board.

               Section 11.12 Waiver. No failure by the Liquidating Trust or the Liquidating
Trustee to exercise or delay in exercising any right, power, or privilege hereunder shall operate as
a waiver, nor shall any single or partial exercise of any right, power, or privilege hereunder
preclude any further exercise thereof, or of any other right, power, or privilege.

              Section 11.13 Cumulative Rights and Remedies. The rights and remedies provided
in this Agreement are cumulative and are not exclusive of any rights under law or in equity.

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               Section 11.14 No Bond Required. Notwithstanding any state law to the contrary,
the Liquidating Trustee (including any successor Liquidating Trustee) shall be exempt from giving
any bond or other security in any jurisdiction.

                Section 11.15 Cooperation. The Liquidating Trustee is the owner and holder of all
of the Debtors’ and Liquidating Debtors’ books and records. The Liquidating Debtors agree to
provide their reasonable cooperation and commercially reasonable best efforts, as necessary, to
assist the Liquidating Trustee with his efforts to assume ownership and possession of such books
and records.

              Section 11.16 Entire Agreement. This Agreement contains the entire agreement
between the parties hereto and supersedes all prior or contemporaneous agreements or
understandings between the parties with respect to the subject matter hereof.

                IN WITNESS WHEREOF, the parties hereto have executed this Agreement or
caused this Agreement to be duly executed by their respective officers thereunto duly authorized
as of the date first above written.




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                                     LIQUIDATING TRUSTEE

                                     By:
                                     Name: Jeffrey T. Varsalone
                                     Title: In his Capacity as Liquidating Trustee

                                     EPIC COMPANIES, LLC
                                     on behalf of itself and the other Debtors

                                     By:
                                     Name: Jeffrey T. Varsalone
                                     Title: In his Capacity as Chief Restructuring
                                            Officer

                                     OFFICIAL COMMITTEE OF UNSECURED
                                     CREDITORS, BY TETRA TECHNOLOGIES
                                     INC., in its capacity as the Chairperson of THE
                                     OFFICIAL COMMITTEE OF UNSECURED
                                     CREDITORS OF EPIC COMPANIES, LLC, ET
                                     AL.



                                     By:
                                          Carlos Longoria
                                     Title: Chief Compliance Officer and Assistant
                                            General Counsel - International




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                                  EXHIBIT A

                            Oversight Board Members




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                                Oversight Board Members

       The following individuals are hereby appointed as the initial members of the Oversight
Board:     (i) Drew      McManigle,        MACCO         Restructuring     Group,      LLC,
(drew@maccorestructuringgroup.com); (ii) Bryan Ryniker, Ryniker Consultants LLC,
(Brian@RynikerLLC.com); and (iii) Scott D. Brownell, APLC (scott@sbrownell.com). Drew
McManigle is the Jointly Designated Member, Bryan Ryniker was selected by the Debtors, and
Scott D. Brownell was selected by the Committee. In addition, Raymond Riddle, Cashman
Equipment Corporation (riddle@4barges.com) shall be the Designated Successor.




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                                                    EXHIBIT B

                                   Schedule of Retained Causes of Action

         Article V.H of the Plan provides as follows:

         Except as set forth in Article V.F of this Plan, from and after the Effective Date,
         (i) the Liquidating Trust shall be solely responsible for prosecution and settlement
         of all Retained Causes of Action pursuant to the Plan, Confirmation Order, and
         Liquidating Trust Agreement and (ii) the Liquidating Trust shall have exclusive
         rights, powers, and interests of the Estates to pursue, settle, or abandon such
         Retained Causes of Action as the sole representative of the Estates pursuant to
         section 1123(b)(3) of the Bankruptcy Code. Confirmation of this Plan effects no
         settlement, compromise, waiver or release of any Retained Cause of Action1 unless
         this Plan or the Confirmation Order specifically and unambiguously so provides.
         The non-disclosure or non-discussion of any particular Retained Cause of Action
         is not and shall not be construed as a settlement, compromise, waiver, preclusion,
         or release of any such Retained Cause of Action. Notwithstanding the foregoing,
         the Oversight Board must approve any settlement of a Retained Cause of Action
         against any Insiders, a Prepetition Agent, or any Prepetition Secured Parties.

         The Liquidating Trust reserves and retains any and all Retained Causes of
         Action against any and all third parties, whether such Retained Causes of
         Action arose before, on or after the Petition Date, the Confirmation Date, the
         Effective Date, and/or the Distribution Record Date, including, without
         limitation, any and all Retained Causes of Action that the Liquidating Trust
         may have against (i) any insurer and/or insurance policies in which either the
         Debtors and/or their current or former personnel have an insurable or other
         interest in or right to make a claim against, any other of the Debtors’ insurers;
         (ii) any recipient of a transfer identified in the Debtors’ Statements of
         Financial Affairs, including any amendments thereto, Filed in these Chapter
         11 Cases based on Retained Causes of Action under chapter 5 of the
         Bankruptcy Code; or (iii) any Insiders, Prepetition Agent, or any Prepetition
         Secured Parties. THE ENTRY OF THE CONFIRMATION ORDER SHALL
         NOT CONSTITUTE RES JUDICATA OR PRECLUSION WITH RESPECT
         TO, OR OTHERWISE BAR, ESTOP OR INHIBIT, ANY ACTIONS BY THE
         LIQUIDATING TRUSTEE RELATING TO RETAINED CAUSES OF

1
  Under the Plan, “Retained Causes of Action” means, collectively, all Causes of Action which may be asserted by or
on behalf of the Debtors or the Estates, a nonexclusive list of which is set forth in the Schedule of Retained Causes of
Action, against any third parties, investors, individuals, or Insiders that the Debtors or the Estates own or have an
interest in or can assert in any fashion, whether prepetition or postpetition, including, without limitation, litigation
claims, whether such Causes of Action arise from contract, tort theories of liability, insurance claims, statutory claims,
common law claims, equitable claims or other claims, objections to Claims, adversary proceedings, Avoidance
Actions against any Entity identified in the Statement of Financial Affairs of any Debtor as a recipient of a payment
made or property transferred by or on behalf of such Debtor prior to the Petition Date, and all Challenge Causes of
Action, claims, demands and rights, in each case, that have not been released, exculpated, waived, settled or barred
pursuant to the Final DIP Order or this Plan or that have not been assigned pursuant to the Purchase Agreement.


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        ACTION, EVEN IF NOT SPECIFICALLY IDENTIFIED IN THE PLAN,
        THE PLAN SUPPLEMENT, THE SCHEDULE OF RETAINED CAUSES
        OF ACTION, OR THE DISCLOSURE STATEMENT.

        On the Effective Date, the Liquidating Trustee shall be substituted as a party
        of record in all pending litigation brought by or against the Debtors or their
        Estates without need for further order of the Bankruptcy Court.

        The Schedule of Retained Causes of Action, listing Causes of Action known by
        the Debtors to be retained by the Liquidating Trustee is included as part of
        the Plan Supplement. No Entity may rely on the absence of a specific reference
        in the Plan, the Plan Supplement, the Schedule of Retained Causes of Action,
        or the Disclosure Statement to any Causes of Action against it as any indication
        that the Debtors or the Liquidating Trustee will not pursue any and all
        available Causes of Action against it. The Liquidating Trustee expressly
        reserves all rights to prosecute any and all Causes of Action against any Entity,
        except as otherwise expressly provided in the Plan.

       Notwithstanding and without limiting the generality of Article V.H of the Plan, the
following Exhibit B(i) through Exhibit B(iv) (each of which is attached hereto) include specific
types of Causes of Actions expressly preserved as Liquidating Trust Assets including:

        Exhibit B(i): Claims related to any insurer and/or insurance policies in which either the
        Debtors and/or their current or former personnel have an insurable or other interest in or
        right to make a claim against, any other of the Debtors’ insurers;

        Exhibit B(ii): Claims related to any recipient of a transfer identified in the Debtors’
        Schedules (as defined below), including any amendments thereto, Filed in these Chapter
        11 Cases based on chapter 5 of the Bankruptcy Code;

        Exhibit B(iii): Claims related to any Insiders, Prepetition Agent, or any Prepetition Secured
        Parties; and

        Exhibit B(iv): Claims related to Accounts Receivable and Accounts Payable.

        For the avoidance of doubt, the Plan Proponents reserve all rights to amend, revise, or
supplement the list of Retained Causes of Action at any time before the Effective Date of the Plan,
or any such other date as may be provided for by the Plan or by order of the Bankruptcy Court.




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                                         EXHIBIT B(i)

                              Claims Related to Insurance Policies
        Exhibit B(i) includes the Debtors’ insurance brokers. Unless otherwise released under
Article X of the Plan, the Debtors and the Estates expressly reserve all Causes of Action based in
whole or in part upon any and all insurance contracts, insurance policies, occurrence policies, and
occurrence contracts to which any Debtor or Reorganized Debtor is a party or pursuant to which
any Debtor or Reorganized Debtor has any rights whatsoever, regardless of whether such contract
or policy is included on Exhibit B(i), including Causes of Action against insurance carriers,
reinsurance carriers, insurance brokers, underwriters, occurrence carriers, or surety bond issuers
relating to coverage, indemnity, contribution, reimbursement, or any other matters. Additionally,
on September 25, 2019, each of the Debtors filed its Schedules of Assets and Liabilities and
Statement of Financial Affairs, which included, among other things, claims and Causes of Action
each of the Debtors had reflected as a liability on its books and records (collectively, and as
amended, the “Schedules”). The Debtors and the Estates expressly reserve all claims and Causes
of Action related to the insurance contracts and policies listed on Schedule A/B and Schedule G
for each of the Debtors to the extent the Debtors or Reorganized Debtors may have claims and
Causes of Action against such insurance contracts and policies now or in the future.




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                              Epic Companies, LLC, et al.
                                            Retained Causes of Action
                                       Claims Related to Insurance Policies
Name of Counter Party                               Address
AIG PROPERTY CASUALTY INC                           1100 POYDRAS ST, STE 3100    NEW ORLEANS   LA 70163
ALLIANZ GLOBAL CORPORATE AND SPECIALTY              28 LIBERTY ST. 24TH FLOOR    NEW YORK      NY 10005
AMERICAN LONGSHORE MUTUAL ASSOC LTD                 1100 POYDRAS ST, STE 3100    NEW ORLEANS   LA 70163
BLUE CROSS BLUE SHIELD OF TEXAS                     2600 NETWORK BLVD, STE 400   FRISCO        TX 75034
IMPERIUM INSURANCE COMPANY                          800 GESSNER ROAD, STE 600    HOUSTON       TX 77024
LLOYD'S OF LONDON                                   ONE LIME ST                  LONDON           EC3M 7HA
MANUFACTURERS ALLIANCE INSURANCE COMPANY            20 BRACE RD, STE 400         CHERRY HILL   NJ 08034
MARKEL AMERICAN INSURANCE COMPANY                   4521 HIGHWOODS PARKWAY       GLEN ALLEN    VA 23068
WATER QUALITY INSURANCE SYNDICATE                   60 BROAD ST, 33RD FLOOR      NEW YORK      NY 10004
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                                           EXHIBIT B(ii)

                          Claims Related to Chapter 5 Causes of Action
        Exhibit B(ii) includes claims and Causes of Action the Debtors and the Estates expressly
retain based in whole or in part upon any receipt of a transfer under chapter 5 of the Bankruptcy
Code. Unless otherwise released under Article X of the Plan, the Debtors and the Estates expressly
reserve all Causes of Action against or related to all Entities related to transfers under chapter 5 of
the Bankruptcy Code, regardless of whether such Entity is included on Exhibit B(ii). Additionally,
on September 25, 2019, each of the Debtors filed its Schedules, which disclosed certain payments
or transfers to creditors within 90 days before filing these Chapter 11 Cases. Unless otherwise
released under Article X of the Plan, the Debtors and the Estates expressly reserve all claims and
causes of Action against any Entity disclosed on the Schedules of each Debtor, in each case to the
extent such Entities are liable for causes of action under chapter 5 of the Bankruptcy Code.




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                          Epic Companies, LLC, et al.
                                         Retained Causes of Action
                                Claims Related to Chapter 5 Causes of Action
Name of Counter Party                        Address
4J SUBSEA SOLUTIONS, LLC                     4819 MENIO PARK DRIVE             SUGAR LAND    TX   77479
ABEL GARCIA                                  8811 LADY LAURA LANE              RICHMOND      TX   77469
ACCOUNT TEMPS                                PO BOX 743295                     LOS ANGELES   CA   90074
ADVANCED TECHNICAL STAFFING                  PO BOX 1844                       MOBILE        AL   36633
SOLUTIONS INC.
ALABAMA POWER COMPANY                        PO BOX 242                        BIRMINGHAM    AL 35292
ALLIANCE MECHANICAL SOLUTIONS LLC            33981 HWY 59                      LOXLEY        AL 36551
ALMA                                         6TH FLOOR, CUMBERLAND HOUSE       BERMUDA
                                             1 VICOTRIA STREET
AMERICAN EQUITY UNDERWRITERS                 11 N WATER ST, 32ND FL            MOBILE        AL 36602
AMERICAN LONGSHORE MUTUAL                    6TH FLOOR, CUMBERLAND HOUSE       BERMUDA
ASSOCIATION LT                               1 VICOTRIA STREET
APTIM CORP DBA APTIM PORT SERVICES, LLC      39001 TREASURY CENTER DR.         CHICAGO       IL   60694
ARAGON, ARTHUR                               5341 NOLDA ST. UNIT B             HOUSTON       TX   77007
ARC CONTROLS, INC.                           4875 TUFTS ROAD                   MOBILE        AL   36619
BCBS                                         300 EAST RANDOLPH STREET          CHICAGO       IL   60601
BILL POOLE VALVES & CONTROLS, INC.           710 W ADMIRAL DOYLE DRIVE         NEW IBERIA    LA   70560
BILLY BRATOWSKI                              33 STONEBRIDGE COURT              MANDEVILLE    LA   70448
BLAKE MARINE GROUP LLC                       4900 GRAND AVENUE                 PITTSBURGH    PA   15225
BLETSCH STEAM SHIP CO.                       P.O. BOX 1476                     LA PORTE      TX   77572
BLUE CROSS                                   P.O. BOX 650007                   DALLAS        TX   75265
BOXLEY GROUP, LLC                            770 S POST OAK LN, 300            HOUSTON       TX   77056
CAILLOUET LAND, LLC                          PO BOX 292                        THIBODAUX     LA   70302
CASHMAN EQUIPMENT CORP.                      41 BROOKS DRIVE, SUITE 1005       BRAINTREE     MA   02184
CENTRAL BOAT RENTALS, INC.                   DEPT. 0422                        DALLAS        TX   75312
                                             PO BOX 120422
CHEROKEE CONSULTANTS INTERNATIONAL, LLC      PO BOX 21                         DELCAMBRE     LA 70528
CLIFFORD JAY GREGORY                         PO BOX 926                        DAPHNE        AL 36526
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C-MAR AMERICA                            PO BOX 4283                          HOUSTON        TX 77210
                                         DEPT 53
COMPANY WRENCH LTD                       4805 SCOOBY LANE                     CARROLL        OH   43112
CONNECT YOUR CARE                        307 INTERNATIONAL CIRCLE SUITE 200   HUNT VALLEY    MD   21030
CONTREX ENERGY SERVICES, LLC             PO BOX 441268                        HOUSTON        TX   77244
COWIN EQUIPMENT CO, INC.                 PO BOX 10624                         BIRMINGHAM     AL   35202
CRESCENT TOWING & SALVAGE CO., INC.      PO BOX 1566                          mobile         AL   36633
CROSSMAR, INC                            1950 S. VAN AVE                      HOUMA          LA   70363
CST CORP                                 12210 BEDFORD ST                     HOUSTON        TX   77031
DAN BUNKERING                            840 GESSNER SUITE 210                HOUSTON        TX   77024
DEEP DELTA LLC                           8311 HWY 23, STE 104                 BELLE CHASE    LA   70037
DELTA RIGGING & TOOLS                    125 MCCARTY STREET                   HOUSTON        TX   77029
DHD OFFSHORE SERVICES, LLC               7889 HWY 182 EAST                    MORGAN CITY    LA   70380
DIAMOND SCAFFOLDING SERVICES, INC.       PO BOX 242                           FAIRHOPE       AL   36533
DNV GL BUSINESS ASSURANCE                PO BOX 934927                        ATLANTA        GA   31193
ECOSOUTH SERVICES OF MOBILE, LLC         12945 US HWY 43 N                    AXIS           AL   36505
ENTERGY                                  PO BOX 8108                          BATON ROUGE    LA   70891
EYOS EXPEDITIONS LTD.                    16-18 FINCH ROAD                     ISLE OF MAN    UK   IM1 2PT
F&S SUPERB MARINE & INDUSTRIAL           5730 I-10 INDUSTRIAL PARKWAY NORTH   THEODORE       AL   36582
SERVICES, INC.

FAST FORWARD RENTALS, INC.               1428 SOUTH HUGH WALLIS ROAD          LAFAYETTE      LA   70508
FIRST INSURANCE FUNDING                  450 SKOKIE BLVD, STE 1000            NORTHBROOK     IL   60062
FUGRO USA MARINE, INC.                   P.O. BOX 301114                      DALLAS         TX   75303
GARBER BROTHERS                          5900 HWY 90 E                        BROUSSARD      LA   70518
GERSON ARREOLA                           10370 RICHMOND AVE 1000              HOUSTON        TX   77042
GULF STATES TRANSPORTATION LLC           5210 LAPALCO BLVD SUITE H            MARRERO        LA   70072
HEALTH CARE SERVICES CORP.               300 EAST RANDOLPH STREET             CHICAGO        IL   60601
DBA BLUE CROSS BLUE SHIELD OF TX

HOLLOWAY HOUSTON, INC.                   5833 ARMOUR DRIVE                    HOUSTON        TX   77020
HUNTING TITIAN, INC.                     PO BOX 2316                          PAMPA          TX   79066
HUSQVARNA                                PO BOX 2771                          CAROL STREAM   IL   60132
IHI E&C INTERNATIONAL CORPORATION        15377 W MEMORIAL DR, STE 300         HOUSTON        TX   77079
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ISLAND AUTOMATION, INC.                      14 INDUSTRIAL ROAD                     ST. MARYS         ON N4X 1B5
ITC GLOBAL                                   26200 ENTERPRISE WAY                   LAKE FOREST       CA 92630
                                             BUILDING 5-2ND FLOOR
JAVELER MARINE SERVICES LLC                  PO BOX 309                             BROUSSARD         LA 70518
JOHN W. STONE OIL DISTRIBUTOR LLC            DEPT. 322                              GRETNA            LA 70054
                                             PO BOX 2010
JS HELD LLC                                  50 JERICHO QUADRANGLE SUITE 117        JERICHO           NY   11753
K&P MARINE SERVICES LLC                      37765 STATE HWY 59                     BAY MINETTE       AL   36507
KENNETH ROBICHAU                             1014 CANDLELIGHT LANE                  HOUSTON           TX   77018
KNIGHT'S MARINE & INDUSTRAL SERVICES, Inc.   PO BOX 915183                          DALLAS            TX   75391
LAD SERVICES OF LOUISIANA LLC                1043 E. STEPHENSVILLE ROAD             MORGAN CITY       LA   70380
LAWLER AND COMPANY, INC.                     PO BOX 1135                            THEODORE          AL   36590
LINEAR CONTROLS, INC.                        107 1/2 COMMISSION BLVD                LAFAYETTE         LA   70508
LOWER COAST COMPANIES, LLC                   PO BOX 1550                            AMELIA            LA   70340
MACTECH, INC.                                4079 PEPIN AVE., UNIT 4                RED WING          MN   55066
MAGNETECH INDUSTRIAL SALES, INC.             800 NAVE RD. SE                        MASSILLON         OH   44646
MAGREM INVESTMENTS LTD.                      ARCH. MAKARIOU III, 232 APOLLO COURT   LIMMASOL               CYPRUS
                                             1ST FLOOR, OFFICE 104

MARITIME SUBSEA CLAIMS, LTD.                 PO BOX 5186                            LAFAYETTE         LA   70505
MCDONOUGH MARINE SERVICE                     PO BOX 919227                          DALLAS            TX   75391
MCG WORKFORCE SOLUTIONS LLC                  PO BOX 1586                            MOBILE            AL   36633
MCGRIFF, SEIBELS & WILLIAMS OF TEXAS, INC.   LOCKBOX DRAWER 456                     BIRMINGHAM        AL   35246
                                             PO BOX 11407
MEDSAFE                                      PO BOX 1929                            MARSHALL          TX 75671
MENCK GMBH                                   AM SPRINGMOOR 5A                       KALTENKIRCHEN        GERMANY
MOBILE AREA WATER & SEWER SYSTEM             PO BOX 830130                          BIRMINGHAM        AL 35283
MOBILE BAR PILOTS, LLC                       PO BOX 831                             MOBILE            AL 36601
MORGAN CITY RENTALS                          125 MCCARTY DRIVE, BLDG. 1             HOUSTON           TX 77029
MULE SERVICES, LLC                           1361 DUCHAMP ROAD                      ST. MARTINVILLE   LA 70582
OCEAN TECHNICAL SERVICES, LLC                2600 SOUTH SHORE BLVD., SUITE 300      LEAGUE CITY       TX 77573
OCEANWIDE                                    PO BOX 59607                           LIMMASOL             CYPRUS
OFFSHORE MEDICAL LOGISTICS LLC               107 WALL BLVD,                         GRETNA            LA 70056
ORACLE AMERICA INC.                          PO BOX 203448                          DALLAS            TX 75320
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PHARMA-SAFE INDUSTRIAL SERVICES           3639 AMBASSADOR CAFFERY PKWY       LAFAYETTE        LA 70503
                                          SUITE 500
PROSERV - MARINE TECH                     PO BOX 204311                      DALLAS           TX   75320
R.SHEALOR/DBA HR SENSE                    10007 DOLIVER                      HOUSTON          TX   77042
RANGER ENVIRONMENTAL SERVICES, LLC        10601 HWY 43 NORTH                 CREOLA           AL   36525
RAPIDLOGGER SYSTEMS LLC                   10700 CORPORATE DRIVE              STAFFORD         TX   77477
                                          SUITE 108
RECOVERED ENERGY, INC.                    11455 N. RIO VISTA RD.             POCATELLO        ID   83202
REDFISH RENTAL OF BELLE CHASSE - 8        PO BOX 844541                      BOSTON           MA   02284
RETIF OIL & FUEL, LLC                     PO BOX 919138                      DALLAS           TX   75931
REVIDNAV MARINE CONSULTING                16225 LEWIS STREET                 JERSEY VILLAGE   TX   77040
DBA RUSSELL VANDIVER
RICARDO RODRIGUEZ                         121 N.POST OAK LANE, 905           HOUSTON          TX 77024
SCURLOCK                                  1903 GRAND CAILLOU RD              HOUMA            LA 70363
SMITH MANUS                               2307 RIVER ROAD                    LOUISVILLE       KY 40206
                                          SUITE 200
SMITH MARITIME, INC.                      PO BOX 188                         GREEN COVE       FL   32043
                                                                             SPRINGS
SOFTCHOICE CORPORATION                    314 W. SUPERIOR STREET SUITE 402   CHICAGO          IL   60610
SPEEDCAST COMMUNICATIONS, INC.            4400 S. SAM HOUSTON PKWY E         HOUSTON          TX   77048
SUN COAST MATERIALS, LLC                  PO BOX 31001-2542                  PASADENA         CA   91110
TAYLORS                                   PO BOX 81154                       LAFAYETTE        LA   70598
TEXTRON FINANCIAL CORPORATION             26096 NETWORK PLACE                CHICAGO          IL   60673
                                          LOCKBOX #26096
TRINITY CATERING, INC.                    219 CORPORATE DRIVE                HOUMA            LA   70360
ULTIMTE SOFTWARE                          2000 Ultimate Way                  WESTON           FL   33326
UNITED RENTALS NORTH AMERICA, INC         PO BOX 840514                      DALLAS           TX   75284
UNITED VISION LOGISTICS                   4021 AMBASSADOR CAFFERY PKWY       LAFAYETTE        LA   70503
                                          SUITE 200 BLDG A
UNUM LIFE INSURANCE COMPANY               PO BOX 409548                      ATLANTA          GA 30384
OF AMERICA

US COATINGS, LLC                          PO BOX 1019                        SATSUMA          AL 36572
VERSABAR                                  11349 FM 529 ROAD                  HOUSTON          TX 77041
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VISION SERVICE PLAN                       PO BOX 742788                     LOS ANGELES     CA 90074
WEST JEFFERSON INDUSTRIAL MEDICINE, LLC   107 WALL BLVD. SUITE A            GRETNA          LA 70056
WHITE OAK GLOBAL ADVISORS, LLC            3 EMBARCADERO CENTER, SUITE 550   SAN FRANCISCO   CA 94111
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                                         EXHIBIT B(iii)

     Claims Related to Insiders, the Prepetition Agent, or any Prepetition Secured Parties
        Exhibit B(iii) includes claims and Causes of Action the Debtors expressly retain against
any and all Insiders, the Prepetition Agent, or any Prepetition Secured Parties. Unless otherwise
released under Article X of the Plan, the Debtors, the Committee and the Estates expressly reserve
all Causes of Action against or related to all Insiders, the Prepetition Agent, or any Prepetition
Secured Parties, regardless of whether such Entity or cause of action is specifically included on
Exhibit B(iii). Additionally, On September 25, 2019, each of the Debtors filed its Schedules
(defined above), which disclosed certain payments to insiders within the year prior to these Chapter
11 Cases. Unless otherwise released under Article X of the Plan, the Debtors, the Committee and
the Estates expressly reserve all claims and Causes of Action against any Entity disclosed on the
Schedules of each Debtor, in each case to the extent such Entities are claims related to Insiders,
the Prepetition Agent, or any Prepetition Secured Parties.




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                                  Epic Companies, LLC, et al.
                                                   Retained Causes of Action
                     Claims Related to Insiders, the Prepetition Agent, or any Prepetition Secured Parties
Name of Counter Party                                     Address
ACQUA LIANA CAPITAL PARTNERS                              192 SUMMERFIELD COURT, SUITE 203              ROANOKE         VA 24019
BECK, KENNETH D                                           77 SUNDOWN RIDGE PLACE                        THE WOODLANDS   TX 77381
CLARKE INVESTMENTS, LLC                                   192 SUMMERFIELD COURT                         ROANOKE         VA 24019
                                                          SUITE 203
CLARKE INVESTMENTS GROUP CORP.                            192 SUMMERFIELD COURT                         ROANOKE         VA 24019
                                                          SUITE 203
CLARKE, TOM                                               192 SUMMERFIELD COURT                         ROANOKE         VA 24019
                                                          SUITE 203
GILBERT, ROB                                              427 W 31ST STREET                             HOUSTON         TX   77018
LAM, BILL                                                 32711 WHITEHAVEN PLACE                        FULSHEAR        TX   77441
LAM, JIM                                                  12538 ROCKY KNOLL                             HOUSTON         TX   77077
OAKRIDGE ENERGY PARTNERS                                  1080 ELDRIDGE PARKWAY                         HOUSTON         TX   77077
                                                          SUITE 1300
ORINOCO NATURAL RESOURCES                                 192 SUMMERFIELD COURT                         ROANOKE         VA 24019
                                                          SUITE 203
PINTAR, PETER                                             526 S 3RD STREET                              BELLAIRE        TX   77401
SPEASE, STEVEN J                                          24 W WEDGEWOOD GLEN                           THE WOODLANDS   TX   77381
WHITE OAK GLOBAL ADVISORS, LLC                            3 EMBARCADERO CENTER, SUITE 550               SAN FRANCISCO   CA   94111
WILEY, DAVID A.                                           2630 TANGLEWILDE ST APT 283                   HOUSTON         TX   77063
WRIGHT, DAVID C                                           2000 BERING DR, STE #700                      HOUSTON         TX   77057
WRIGHT'S WELL CONTROL, LLC                                2000 BERING DR, STE #700                      HOUSTON         TX   77057
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                                          EXHIBIT B(iv)

                Claims Related to Accounts Receivable and Accounts Payable
         Exhibit B(iv) includes claims against Entities that currently owe money to the Debtors or
their Estates. Unless otherwise released under Article X of the Plan, the Debtors and the Estates
expressly reserve all Causes of Action against or related to all Entities that owe or that may in the
future owe money to the Debtors or the Estates regardless of whether such Entity is included on
Exhibit B(iv). Additionally, on September 25, 2019, each of the Debtors filed its Schedules, which
included, among other things, claims and Causes of Action each of the Debtors had reflected as a
liability on its books and records. The Debtors and the Estates expressly reserve all claims and
Causes of Action against any Entity listed on Schedule A/B, Schedule D, and Schedule E/F of each
Debtor to the extent such Entities owe or may in the future owe money to the Debtors, the Estates
or Reorganized Debtors. Furthermore, unless otherwise released under Article X of the Plan, the
Debtors and the Estates expressly reserve all Causes of Action against or related to all Entities who
assert or may assert that the Debtors, the Estates or Reorganized Debtors owe money to them.




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                                   Epic Companies, LLC, et al.
                                                Retained Causes of Action
                                          Claims Related to Accounts Receivable
Name of Counter Party                             Address
ACBL TRANSPORT SERVICES, LLC                      1701 E. MARKET ST.                   JEFFERSONVILLE   IN   47130
AM/NS CALVERT LLC                                 1 STEEL DR.                          CALVERT          AL   36513
BLAKE MARINE GROUP, LLC                           4900 GRAND AVE                       PITTSBURGH       PA   15225
GREAT LAKES DREDGE AND DOCK COOMPANY, LLC         2122 YORK ROAD                       OAK BROOK        IL   60523
HELIX ENERGY SOLUTIONS GORUP, INC                 3505 W SAM HOUSTON PKWY N, STE 400   HOUSTON          TX   77043
HOC OFFSHORE S. DE RL DE CV                       CALLE 67 NO 8 ENTRE 26 Y 2-A         CAMPECHE         MX   CP 24115
                                                  PLAYA NORTE
INDUSTRIAL OILFIELD AND                           906 S PERSIMMON ST.                  TOMBALL          TX 77375
MARINE COMPONENTS INC
JAVELIN GLOBAL COMMODITIES (UK) LTD               7 HOWICK PLACE                       LONDON           UK SW1P 1 BB
OCEAN CONSTRUCTOR                                 2629 NW 54TH ST. #201                SEATTLE          WA 98107
STABBERT MARINE
RAYTHEON ENERGY LTD                               807 WINTER ST.                       WALTHAM          MA   02451
SA RECYCLING LLC                                  2411 N GLASSELL ST.                  ORANGE           CA   92865
SAPURAKENCANA MEXICANA SAPI DE CV                 AV ISLA DE TRIS 281                  CAMPECHE         MX   24030
TOM CLARKE                                        1080 ELDRIDGE PKWY, STE 1300         HOUSTON          TX   77077
USCGC BRAMBLE LLC
VERSABAR                                          11349 FM 529 ROAD                    HOUSTON          TX   77041
ENERGY XXI GULF COAST                             1021 MAIN ST. #2626                  HOUSTON          TX   77022
KEWA US                                           725 COOL SPRINGS BLVD, STE 600       FRANKLIN         TX   37067
MARITECH RESOURCES                                25025 I-45 N, STE 600                THE WOODLANDS    TX   77380
MODERN AMERICAN RECYCLING SERVICE, INC            1100 POYDRAS ST., STE 2250           NEW ORLEANS      LA   70163
MONFORTE EXPLORATION LLC                          3200 SOUTHWEST FREEWAY, STE 3300     HOUSTON          TX   77027
NORTHSTAR OFFSHORE GROUP LLC                      11 GREENWAY PLAZA, STE 2880          HOUSTON          TX   77046
OAKRIDGE ENERGY PARTNERS                          4613 OLD JACKSBORO HIGHWAY           WICHITA FALLS    TX   76302
SANARE ENERGY PARTNERS LLC                        11 GREENWAY PLAZA, STE 2880          HOUSTON          TX   77046
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                                        EXHIBIT C

                               Designated Litigation Counsel

        Reid Collins & Tsai LLP is hereby designated as the Designated Litigation Counsel to
pursue Retained Causes of Action against any Insiders, the Prepetition Agents, and/or the
Prepetition Secured Parties on a contingency fee basis. Munsch Hardt Kopf & Harr, P.C. also is
hereby designated as supporting Designated Litigation Counsel on a contingency fees basis to
provide assistance with respect to Retained Causes of Action held against Insiders.




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